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                      UNITED STATES DEPARTMENT OF JUSTICE
                      OFFICE OF THE UNITED STATES TRUSTEE
                               DISTRICT OF DELAWARE
                         J. CALEB BOGGS FEDERAL BUILDING
                      844 KING STREET, SUITE 2207, LOCKBOX 35
                            WILMINGTON, DELAWARE 19801
                        PHONE (302) 573-6491 / FAX (302) 573-6497

ANDREW R. VARA                                               T. PATRICK TINKER
UNITED STATES TRUSTEE                                        ASSISTANT U.S. TRUSTEE


REQUEST BY THE UNITED STATES TRUSTEE TO THE CLERK OF BANKRUPTCY
COURT TO SCHEDULE A SECTION 341(a) MEETING IN A CHAPTER 11 CASE
______________________________________________________________________________

ATTENTION: 341(a) NOTICE CLERK - CHAPTER 11

Pursuant to Section 341(a) of the U.S. Bankruptcy Code, please schedule a meeting of creditors
for the following cases:

DEBTOR:                Tough Mudder Incorporated
                       Tough Mudder Event Production Incorporated

CASE NO:               20-10036 (CSS)
                       20-10037 (CSS)

DATE:                  March 2, 2020

TIME:                  1:30 p.m.

LOCATION:              J. Caleb Boggs Federal Building
                       844 King Street
                       3rd Floor, Room 3209
                       Wilmington, DE 19801

By: /s/ Jane Leamy
Jane Leamy, Trial Attorney

Dated: February 4, 2020
PLEASE NOTE THAT THE 341(a) MEETING HAS BEEN SCHEDULED WITHIN THE TIME REQUIRED BY RULE 2003,
FEDERAL RULES OF BANKRUPTCY PROCEDURE. IF YOU ARE UNABLE TO COMPLY WITH THE NOTICE
REQUIREMENT OF THIS RULE, PLEASE ADVISE IMMEDIATELY.
